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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                            )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )    Case No. 1:19-cr-00266-TWP-MJD-01
                                                      )
 ALLEN WILLIAMS,                                      )
                                                      )
                               Defendant.             )

               ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS

        This matter is before the Court on Defendant Allen Williams’ (“Williams”) Motion to

 Suppress (Filing No. 120). Williams is charged by Superseding Indictment with Count I: Felon in

 Possession of a Firearm in violation of 18 U.S.C. §922(g)(1); Count II: Felon in Possession of

 Ammunition in violation of 18 U.S.C. §922(g)(1); and Count III: Possession with Intent to

 Distribute Marijuana in violation of 21 U.S.C. § 841(a)(1) and § 841(b)(1)(D). (Filing No. 84.)

 He seeks to suppress as evidence in this case any and all oral and written communications,

 confessions, or admissions, alleged to have been made by him and all evidence seized as a result

 of the information obtained from his statement. (Filing No. 120 at 1.) Williams contends any

 statements were involuntary statements made due to his physical, psychological, mental, and

 emotional state and coercive police tactics. Id. Pursuant to Federal Rule of Criminal Procedure

 12(d), the Court now submits findings of fact and conclusions of law and determines that the

 Motion to Suppress should be denied.

                                       I.   FINDINGS OF FACT

        As a preliminary matter, the Court notes that neither party requested a hearing. There are

 no material disputes concerning the facts and the Motion raises purely legal questions; therefore

 no evidentiary hearing is required. “District courts are required to conduct evidentiary hearings

 only when a substantial claim is presented and there are disputed issues of material fact that will
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 affect the outcome of the motion.” United States v. Curlin, 638 F.3d 562, 564 (7th Cir. 2011).

 The relevant facts are corroborated by a transcript and videotape of Williams' interrogation. In

 addition, Williams raises no objections to the background facts set forth in the Complaint and

 Affidavit of Special Agent Launa K. Hunt, Bureau of Alcohol, Tobacco, Firearms and Explosives.

 (Filing No. 2).

        On June 14, 2019, Williams pulled up in his vehicle next to an Indianapolis Metropolitan

 Police Department ("IMPD") vehicle near the North District Roll Call location. (Filing No. 2.)

 Williams asked Officer D. Harden ("Officer Harden") if he could ask him a question. Williams

 then handed Officer Harden a black handgun and said “I am a convicted felon out of Illinois. I am

 not allowed to have this.” Id. at 3. Williams told Officer Harden that he wanted to be taken into

 protective custody because “the Muslims” were trying to kill him. Id. Officer Harden asked

 Williams to follow him to the IMPD North District, and Williams complied. Id.

        Upon arrival, Williams stated that he wanted the police go kill the Muslims, and that if they

 would not do it, then he would buy several firearms and kill them himself. Id. Williams was placed

 in handcuffs and seated on a chair outside the front door of North District Roll Call. Id. While

 seated, Williams continued speaking, unprompted. He stated that he had purchased the firearm

 from a friend for protection, that he is a convicted felon, that he knew he was not allowed to have

 a firearm, that he sells marijuana and that he had money in his car that he had made from selling

 marijuana. Id. at 3-4.

        Based on Williams' unusual behavior, the IMPD Mobile Crisis Assistance Team

 ("MCAT") responded to a call to assist. (Filing No. 125 at 3). Williams spoke with the Behavioral

 Health Specialist officer and explained that he had been going to the Nation of Islam mosque, but

 decided not to become a Muslim, and the Muslims had threatened to kill him. Id. The MCAT



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 determined Williams met the criteria for immediate detention, meaning that he would eventually

 be transported to the hospital for a mental health evaluation. Id.

        Following this determination, Officers placed Williams in an interview room so that

 Williams could be interviewed. Williams was in leg restraints but was not handcuffed. The events

 thereafter are recorded on audio and video, (See Filing No. 127) and partial transcripts (Filing No.

 125-1, Filing No. 125-2). Williams stated that he was cold, and officers provided him a blanket

 and jacket. Sargent Hemphill ("Sgt. Hemphill") informed Williams that he was going to read him

 his Miranda rights, as they had discussed when they were upstairs. Williams stated "I just want to

 sign. I understand my rights as an American and I want to sign" the waiver. (Filing No. 125-1 at

 7). Sgt. Hemphill read Williams his Miranda rights and Williams signed the waiver form. Id. at

 8-9. Prior to starting the interview, Williams volunteered several times that he wanted to "confess

 his sins." Id. at 7-8. Thereafter, Williams proceeded to give a detailed statement about his

 background and his criminal activities. Id. at 9-13. He accurately and logically gave his name,

 age, a list of residences since he arrived in Indianapolis five years ago. He discussed that he and

 others travel to California with large amounts of cash, purchase marijuana from dispensaries, and

 travel back with it packaged in their suitcases. Williams stated that he sells the marijuana out of

 his house. He further stated that he keeps the marijuana in a safe at another woman’s house.

 Williams explained that the gun he turned in to law enforcement was his, and he had purchased

 the gun after he stopped going to a nearby mosque. He said he had no other guns in his house, but

 that he did have ammunition. Williams also spoke at length about his experiences at the mosque

 and teachings of the Nation of Islam. ( Video and (Filing No. 125-2.))

        At times during the interview, Williams was animated and was told to calm down by the

 officers. However, the majority of time during the interview Williams remained calm, mostly

 sharing information on his own volition, rather than in response to questions from officers. The
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 interview lasted approximately thirty minutes. (Filing No. 125 at 5). After the interview concluded,

 Williams was transported to Eskenazi Hospital for a mental health evaluation. Id. Once he was

 at Eskenazi Hospital, Williams was treated with anti-psychotic medications. (Filing No. 120 at 2.)

        Using the information Williams shared prior to and during the interview, officers obtained

 search warrants for Williams' vehicle and home. Consistent with Williams' interview, officers

 recovered almost $8,000.00 in cash from a suitcase in the trunk of his vehicle. They also recovered

 a spent .45 caliber shell casing from between the driver’s seat and the center console. While

 searching Williams' home, officers recovered digital scales containing marijuana residue, 46

 cannabis oil vape cartridges, multiple bags containing marijuana, a metal cylinder press containing

 cocaine residue, a vacuum sealer, a handgun holster, and a box of .40 caliber ammunition. Id. at

 5-6.

        On January 28, 2020, Williams counsel filed a motion for Psychological Examination

 Pursuant to 18 U.S.C. § 4241(B). (Filing No. 34). This Court ordered an evaluation to determine

 Williams competency to stand trial. (Filing No. 37). Forensic Psychologist David Szyhowski

 provided a diagnosis of "Rule Out Antisocial Personality Disorder" and "Rule Out Cannabis Abuse

 Disorder." (Filing No. 49-1 at 8.) Dr. Szyhowski also opined that the "odd manifestations"

 exhibited by Mr. Williams at the time of his arrest were not related to a chronic psychotic condition

 such as Schizophrenia." Id. Following a hearing on July 2, 2020, the Court found Williams

 competent to proceed (Filing No. 77), and a trial date is presently scheduled for January 19, 2021.

                      II. CONCLUSIONS OF LAW AND DISCUSSION

        Williams argues that all confessions, statements, admissions, and consents executed at the

 time of his arrest were elicited in violation of his constitutional rights under the Fifth, Sixth and




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 Fourteenth Amendments to the United States Constitution, as his waiver was made involuntarily 1.

 He asks the Court to suppress all evidence recovered by the Government, directly or indirectly,

 because of involuntary statements and due to his physical, psychological, mental, and emotional

 state and coercive police tactics by the officers. (Filing No. 120).

         The Fifth Amendment to the Constitution of the United States protects individuals from

 being compelled to testify against themselves. The Government's burden under Miranda v.

 Arizona, 384 U.S. 436 (1966), is to prove that Williams voluntarily made a knowing and intelligent

 waiver of his rights. The rule of Miranda requires exclusion from evidence, any statements made

 by a suspect during a custodial interrogation unless the suspect was informed of, and waived,

 specified constitutional rights. See, e.g., United States v. Podhorn, 549 F.3d 552 (7th Cir. 2008).

 The test for a voluntary confession is whether the defendant’s will was overborne at the time he

 confessed. United States v. Haddon, 927 F.2d 942, 945–46 (7th Cir. 1991).

         In determining whether a statement is voluntary, knowing and intelligent, the court looks

 at the totality of the circumstances based on the undisputed facts presented. The totality of the

 circumstances test looks to the entire interrogation, not one specific act by the police or the

 condition of the suspect. Light v. State, 547 N.E.2d 1073, 1079 (Ind. 1989). There are multiple

 factors that a court can consider when determining the voluntariness of a statement post-Miranda,

 Miranda relevant to the voluntariness inquiry if it made mental or physical coercion by the police

 more effective.” Id. (citing Anderson v. Thieret, 903 F.2d 526, 530 n.1 (7th Cir. 1990)). To

 determine whether a confession is voluntary, mental health is only one factor. Colorado v.

 Connelly, 479 U.S. 1576, 163-64 (1986). There must be some official coercion involved such as

 the police exploiting the mental illness. See Blackburn v. Alabama, 361 U.S. 199 (1960).



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   Although Williams' asserts a violation of his Sixth and Fourteenth Amendment rights, he presents no arguments
 regarding these violations. The Court finds that he has waived these assertions.
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        Williams argues the Government cannot prove its burden, and therefore, the waiver of his

 rights violated the Fifth Amendment. Williams argues that to determine the validity of a Miranda

 waiver, two things must be considered; first, the waiver must be voluntary in that it was a product

 of a free and deliberate choice rather than through intimidation, coercion or deception. (Filing No.

 120-1 at 2). Secondly, the waiver must be made with a full awareness of the nature and right being

 waived and the consequences of doing so. Moran v. Burbine, 475 U.S. 412, 427 (1986). Id.

 Williams points out that instead of placing him in protective custody, the police proceeded to

 question him whereby he made admissions which are in part the foundation of his indictment as

 well as search warrants for his home and car. Id. at 3. He argues that while he waived his Miranda

 rights, the waiver was involuntary because his physical, emotional and psychological state made

 him unable to understand the full meaning of the waiver, as well as coercive police tactics used by

 the officers during his interrogation. Id. Williams relies on Blackburn v. Alabama, 361 U.S. 199

 (1960). (Filing No. 120-1 at 2.)

        In Blackburn, the defendant argued the waiver of his Miranda rights was involuntary due

 to being mentally incompetent and coerced by the police. Medical professionals explained

 Blackburn was insane on the date of the crime but also believed he was likely insane and

 incompetent on the day he confessed, as well. Id. at 203. The court also determined that aside

 from the insanity and incompetency, the conditions upon which Blackburn testified made the

 denial of his due process even more "egregious". These conditions included: the eight- to nine-

 hour sustained interrogation in a tiny room which was upon occasion literally filled with police

 officers; the absence of Blackburn's friends, relatives, or legal counsel, and the composition of the

 confession by the deputy sheriff rather than by Blackburn. Id. at 207-208. The court ultimately

 held that the "evidence here clearly establishes that the confession most probably was not the

 product of any meaningful act of volition." Id. at 211.
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         Williams asserts that, like Blackburn, the police took advantage of his mental state. He

 argues the police knew that he was afraid for his life, mentally ill and coming to them for

 protection; thus, they used his fear and illness to coerce an incriminating statement from him.

 (Filing No. 120-1 at 3.) Looking at the totality of the circumstances, the record does not support

 Williams' position and the Government asserts persuasively that Williams' confession was

 voluntary. (Filing No. 125 at 8.)

         The Court has reviewed the video of the interview and there are facts that clearly

 differentiate this case from Blackburn. Unlike in Blackburn, where the defendant was interrogated

 for eight to nine hours and forced to testify in close quarters while being surrounded by police

 officials, Williams' interview lasted approximately thirty minutes, with two officers present and

 the officers provided Williams with warm clothing when he told them he was cold. Instead of

 being coerced or forced to speak with officers, Williams initiated contact with law enforcement

 officers and willingly explained that he wanted to "confess [his] sins" on multiple occasions

 unsolicited. When Officer Hemphill began the advisement of Miranda, Williams eagerly asserted

 that he wanted to sign the waiver, that he understood his rights as an American and he wanted to

 confess. At times, Williams would make statements that were unusual, however the majority of

 his statements were logical and rational and proved to be accurate. These circumstances are

 radically different than the circumstances in Blackburn.

         Williams also refers to Keeling v. Kentucky, 381 S.W. 3d 248, 268 (Ky 2006), in arguing

 that the police tactics were coercive. In Keeling, the defendant argued that the trial court erred in

 failing to suppress his post-arrest statements to the police, and that because he suffered from a

 mental illness causing hallucinations and delusions, any statement he made would be unreliable.

 Keeling also alleged that coercive police tactics played a role in his testimony, and that those tactics

 included being "left alone in a small holding cell for several hours with an officer guarding the
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 door, given no medication, had no visitors, and forced to sit for a portion of that time in clothes

 covered in his father's blood." Id. at 269. Even still, the court in Keeling determined that the police

 did not engage in coercive activity. When comparing Keeling to Williams, the facts are distinct.

 There is no evidence whatsoever of coercive tactics being employed in order to coax Williams to

 confess. Instead, Williams was eager to talk and although he volunteered incriminating

 information, he rationally explained that he wished to confess his sins. In addition, as noted earlier,

 the majority of Williams statements were reliable.

        Although Williams exhibited some disorganized speech and thought patterns; it does not

 follow that officers "knew or reasonably should have known that the defendant was mentally ill to

 the point that he was unable to make a free and rational choice about waiving his rights." See

 generally Rice v. Cooper 148 F.3d 747 (7th Cir. 1998). In Cooper, the Seventh Circuit explained

 “the Constitution doesn’t protect the suspect against himself…if he understands the Miranda

 warnings yet is moved by a crazy impulse to blurt out a confession, the confession is admissible

 because it is not a product of coercion.” Id. at 750. Based on the totality of the circumstances, the

 Court finds no coercion on the part of the officers, and Williams' statements were the product of

 freewill. The Government has met their burden of proving that Williams voluntarily made a

 knowing and intelligent waiver of his rights. Accordingly, there is no Fifth, Sixth or Fourteenth

 Amendment violation.

                                        III.   CONCLUSION

        While Williams asserts to have made involuntary statements due to his physical,

 psychological, mental, and emotional state, the Court did not find the facts satisfied all

 requirements of an "involuntary action". For the reasons explained above, the Motion to Suppress,

 (Filing No. 120), is DENIED.

        SO ORDERED.
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 Date: 11/6/2020




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